      Case 3:22-cv-00178-SDD-SDJ           Document 308        03/27/25    Page 1 of 8




                           UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA

DOROTHY NAIRNE, et al.
                                                                             CIVIL ACTION
versus
                                                                           22-178-SDD-SDJ
R. KYLE ARDOIN, in his official capacity
as Secretary of State of Louisiana

                                          RULING

         Before the Court is a Motion for Partial Stay1 filed by defendant Nancy Landry, in

her official capacity as Secretary of State of Louisiana, (“Defendant” or “Secretary

Landry”). Plaintiffs the Black Voters Matter Capacity Building Institute, Steven Harris,

Louisiana State Conference of the NAACP, Clee E. Lowe, Dorothy Nairne, Rose

Thompson, and Alice Washington (collectively, “Plaintiffs”) oppose Defendant’s Motion

for Partial Stay and have filed a Cross Motion to Reconsider the Court’s Remedial

Schedule (the “Motion to Reconsider”).2 Defendant opposes Plaintiffs’ Motion to

Reconsider.3 The Court has considered the law and the arguments and submissions of

the parties and is prepared to rule. For the following reasons, Defendant’s Motion for

Partial Stay4 is granted in part and denied in part as moot. Plaintiffs’ Motion to Reconsider5

is denied.




1
  Rec. Doc. 300.
2
  Rec. Doc. 304.
3
  Rec. Doc. 305.
4
  Rec. Doc. 300.
5
  Rec. Doc. 305.

                                        Page 1 of 8
         Case 3:22-cv-00178-SDD-SDJ               Document 308           03/27/25      Page 2 of 8




    I.       BACKGROUND

          Plaintiffs, a group of Black Louisianans and two nonprofit organizations, brought

this suit against Kyle Ardoin, in his official capacity as Secretary of State of Louisiana,6

alleging that the 2022 redistricting plans for the Louisiana House of Representatives and

State Senate unlawfully dilute Black voting strength in violation of Section 2 of the Voting

Rights Act of 1965 (“VRA”), 52 U.S.C. § 10301.7 In a seven-day bench trial beginning

November 27, 2023, and ending December 5, 2023, this Court held that the Louisiana

State House and Senate electoral maps enacted by the Louisiana Legislature (S.B. 1 and

H.B. 14) violate Section 2 of the VRA.8 Accordingly, this Court enjoined elections under

S.B. 1 and H.B. 14 and permitted the State a reasonable period of time to address the

Court’s findings and implement State House and Senate electoral maps that comply with

Section 2 of the VRA.9

          Former Secretary of State Kyle Ardoin10 appealed the Court’s ruling.11 “A notice of

appeal is an event of jurisdictional significance—it confers jurisdiction on the court of

appeals and divests the district court of its control over those aspects of the case involved

in the appeal.”12 Nevertheless, a district court is not stripped of all jurisdiction once a

notice of appeal is filed. “The district court maintains jurisdiction as to matters not involved



6
  During the course of this litigation, Nancy Landry was elected as Louisiana’s Secretary of State. As such,
she is substituted in for Kyle Ardoin as a party to this case. See Fed R. Civ. P. 25(d) (“An action does not
abate when a public officer who is a party in an official capacity dies, resigns, or otherwise ceases to hold
office while the action is pending. The officer's successor is automatically substituted as a party. Later
proceedings should be in the substituted party's name, but any misnomer not affecting the parties’
substantial rights must be disregarded. The court may order substitution at any time, but the absence of
such an order does not affect the substitution.”).
7
  Rec. Doc. 14.
8
  Rec. Doc. 233, pp. 1, 91.
9
  Id. at p. 91.
10
   See supra note 6.
11
   See Rec. Doc. 250.
12
   Griggs v. Provident Consumer Disc. Co., 459 U.S. 56, 58 (1982) (internal citations omitted).

                                               Page 2 of 8
      Case 3:22-cv-00178-SDD-SDJ                 Document 308           03/27/25       Page 3 of 8




in the appeal, such as the merits of an action when appeal from a preliminary injunction

is taken, or in aid of the appeal as by making clerical corrections.”13 The district court has

the authority to “preserve the status quo” while the case is pending appeal.14 As such, the

Court entered a remedial schedule and set a remedial evidentiary hearing for August 25,

2025.15

        On January 22, 2025, the parties filed a joint proposed order to stay the Court’s

injunction.16 They sought a stay for the limited purpose of holding special elections under

S.B. 1 to fill vacancies for Senate Districts 14 and 23 (respectively, “SD23” and “SD14”).17

The Court granted the parties’ requested partial stay on January 23, 2025.18 On February

15, 2025, State House Representatives Branch Myers (“Meyers”) and Larry Selders

(“Selders”) won the SD23 and SD14 special elections.19 Consequently, Meyers and

Selders’ House seats for Districts 45 and 67 (respectively, “HD45” and “HD67”) became

vacant.20

        Secretary Landry filed the present Motion for Partial Stay to conduct elections for

HD45 and HD67.21 Plaintiffs oppose Secretary Landry’s motion and assert a cross motion

seeking that the Court reconsider its remedial schedule.22 They argue that given the

Legislature’s inaction in drawing new maps, “this Court should expedite the remedial


13
   Farmhand, Inc. v. Anel Eng’g Indus., Inc., 693 F.2d 1140, 1145 (5th Cir.1982) (internal citation omitted)
(citing 16 C. Wright, A. Miller, E. Cooper & E. Gressman, Federal Practice and Procedure § 3949, at 359
(1977)).
14
   See Coastal Corp. v. Tex. E. Corp., 869 F.2d 817, 820 (5th Cir. 1989) (explaining that the district court
may issue orders that are designed to preserve the status quo) (citing Ideal Toy Corp. v. Sayco Doll Corp.,
302 F.2d 623 (2d Cir. 1962)).
15
   Rec. Doc. 279, p. 2.
16
   Rec. Doc. 294.
17
   Rec. Docs. 294, 294-1.
18
   Rec. Doc. 295.
19
   Rec. Doc. 300-1, p. 2.
20
   Id. at pp. 1–2.
21
   Rec. Doc. 300.
22
   Rec. Doc. 304.

                                              Page 3 of 8
           Case 3:22-cv-00178-SDD-SDJ        Document 308      03/27/25    Page 4 of 8




schedule to balance the public interest in ensuring all voters have representation against

avoiding further harm.”23 Secretary Landry opposes Plaintiffs’ Motion to Reconsider.24

            On March 21, 2025, Secretary Landry notified the Court that there will no longer

be a May 3, 2025 election for HD45.25 In her notice, Secretary Landry explains that only

one candidate qualified for HD45.26 As such, this candidate “is eligible to take office as

soon as the time for candidate challenges expires as set forth in La. R.S. [§] 18:1405—

seven days after close of the candidate qualification period provided there are no

challenges.”27 Since there were no candidate challenges filed before the expiration date,28

the qualified candidate may now take office upon Secretary Landry’s certification pursuant

to La. R.S. § 18:513.29 Though only an election for HD67 will take place on May 3, 2025,

Secretary Landry still seeks a partial stay as to both HD45 and HD67.30 Plaintiffs have

filed a response to Secretary Landry’s notice.31

     II.       MOTION FOR PARTIAL STAY

            In assessing a stay pending an appeal, the Court must consider the following

factors: “(1) whether the stay applicant has made a strong showing that he is likely to

succeed on the merits; (2) whether the applicant will be irreparably injured absent a stay;

(3) whether issuance of the stay will substantially injure the other parties interested in the




23
   Rec. Doc. 304-1, p. 5.
24
   Rec. Doc. 305.
25
   Rec. Doc. 306, p. 1.
26
   Id.
27
   Id. (citing La. R.S. § 18:511(B)).
28
   March 21, 2025, at 4:30 CST. See id.
29
   Id.
30
   Id.
31
   Rec. Doc. 307.

                                          Page 4 of 8
       Case 3:22-cv-00178-SDD-SDJ                   Document 308            03/27/25       Page 5 of 8




proceeding; and (4) where the public interest lies.”32 The Court finds that these factors

weigh in favor of staying its injunction for purposes of conducting an election for HD67.

        Regarding the first and third factors, no Plaintiff or disclosed member of an

organizational Plaintiff resides in SD14. The record makes clear that HD67 is completely

encompassed in SD14, and HD67 was not in dispute in the liability phase. It is unlikely

that the court of appeal will make any findings particular to the subject district. Further,

the Court did not find that HD67 was “cracked or packed” in violation of Section 2 of the

VRA, and “a plaintiff’s remedy must be limited to the inadequacy that produced [his] injury

in fact.”33 As to the second and fourth factors, the public’s interest lies in favor of electing

a representative to HD67. Not filling this vacancy will deprive residents in HD67

representation in the 2025 legislative session. This in turn causes Secretary Landry, the

state’s chief election officer, irreparable injury, as she will be unable to conduct an election

intended to ensure adequate representation in the upcoming legislative session. For

these reasons, Secretary Landry’s Motion for Partial Stay34 as to HD67 is granted.

        With respect to HD45, the Motion for Partial Stay35 is denied as moot. As Secretary

Landry explains in her notice to the Court, no formal election is needed for HD45 because

there was only one candidate qualified to take the office. By operation of law, that qualified

candidate was “declared elected by the people.”36 Plaintiffs argue that the qualified

candidate cannot be “declared elected by the people” absent a stay of this Court’s

injunction as to HD45. However, this Court’s injunction enjoins “elections under S.B. 1




32
   Nken v. Holder, 556 U.S. 418, 426 (2009).
33
   Gill v. Whitford, 585 U.S. 48, 66 (2018) (alteration in original) (citation and internal quotations omitted).
34
   Rec. Doc. 300.
35
   Id.
36
   La. R.S. § 18:511(B).

                                                 Page 5 of 8
        Case 3:22-cv-00178-SDD-SDJ                Document 308           03/27/25       Page 6 of 8




and H.B. 14,”37 and no formal election will take place as to HD45. The Court did not enjoin

the Secretary of State from declaring the winner in an uncontested election. If either party

believes separate relief from this Court is needed for the HD45 election to be certified,

they shall file a motion with the Court.

     III.      MOTION TO RECONSIDER

            Although the Federal Rules “do not recognize a ‘motion for reconsideration’ in haec

verba,”38 the Fifth Circuit has “consistently recognized that such a motion may challenge

a judgment or order under the Federal Rules of Civil Procedure 54(b) [or] 59(e) . . . .”39

The Court finds that, because the challenged remedial schedule is not a final judgment,

Rule 54(b) is the proper standard to apply.40

            Rule 54(b) provides that:

            [A]ny order or other decision . . . that adjudicates fewer than all the claims
            or the rights and liabilities of fewer than all of the parties does not end the
            action as to any of the claims or parties and may be revised at any time
            before the entry of a judgment adjudicating all the claims and all the parties'
            rights and liabilities.

Accordingly, under Rule 54(b), “a court retains jurisdiction over all the claims in a suit and

may alter any earlier decision at its discretion until final judgment has been issued on a

claim or on the case as a whole.”41 Compared to the “stricter”42 analysis required by Rule

59(e), “[d]istrict courts have considerable discretion in deciding whether to reconsider an




37
   Rec. Doc. 233, p. 91.
38
   Lavespere v. Niagra Mach. & Tool Works, Inc., 910 F.2d 167,173 (5th Cir. 1990).
39
   Lightfoot v. Hartford Fire Ins. Co., No. 07-4833, 2012 WL 711842, *2 (E.D. La. 2012).
40
   See Austin v. Kroger Tex., L.P., 864 F.3d 326, 336 (5th Cir. 2017) (“Because the district court was not
asked to reconsider a judgment, the district court’s denial of Austin’s motion to reconsider its order denying
leave to file a surreply should have been considered under Rule 54(b).”).
41
   Livingston Downs Racing Ass’n, Inc. v. Jefferson Downs Corp., 259 F. Supp. 2d 471, 475 (M.D. La. 2002).
42
   Adams v. United Ass'n of Journeymen & Apprentices of the Plumbing & Pipefitting Indus. of the United
States & Canada, AFL-CIO, Loc. 198, 495 F. Supp. 3d 392, 395 (M.D. La. 2020).

                                               Page 6 of 8
      Case 3:22-cv-00178-SDD-SDJ                Document 308          03/27/25      Page 7 of 8




interlocutory order”43 under 54(b). “However, this broad discretion must be exercised

sparingly in order to forestall the perpetual reexamination of orders and the resulting

burdens and delays.”44 Therefore, “rulings should only be reconsidered where the moving

party has presented substantial reasons for reconsideration.”45 “There are three major

grounds justifying reconsideration: (1) an intervening change in controlling law; (2) the

availability of new evidence; and (3) the need to correct clear error or prevent manifest

injustice.”46

        Plaintiffs base their Motion to Reconsider on “the Legislature’s refusal to act.”47

They argue that the Court should expediate its remedial schedule because the Legislature

has yet to address the Court’s findings and implement State House and Senate electoral

maps compliant with Section 2 of the VRA.48 Plaintiffs offer no new case law or compelling

arguments as to why the Court should reconsider its remedial schedule. The stay as to

HD67 sought in this case is a result of the stay as to SD14 that the Plaintiffs consented

to on January 22, 2025.49 The Court set a liberal remedial timeline to give the Legislature

ample time to act, and there are currently no scheduled regular House or Senate elections

that impact the current timeline. The Court is not persuaded that it should rush or

circumvent this process. Accordingly, Plaintiffs’ Motion to Reconsider50 is denied.




43
   Keys v. Dean Morris, LLP, No. 12-49, 2013 WL 2387768, *1 (M.D. La. 2013).
44
   S. Snow Mfg. Co., Inc. v. SnoWizard Holdings, Inc., 921 F. Supp. 2d 548, 564–65 (E.D. La. 2013).
45
   State of La. v. Sprint Commc’ns Co., 899 F. Supp. 282, 284 (M.D. La. 1995).
46
   J.M.C. v. La. Bd. of Elementary and Secondary Educ., 584 F. Supp. 2d 894, 896 (M.D. La. 2008) (quoting
Shields v. Shetler, 120 F.R.D. 123, 126 (D. Colo. 1988)).
47
   Rec. Doc. 304-1, p. 5.
48
   Id. at p. 6.
49
   Rec. Doc. 294.
50
   Rec. Doc. 304.

                                             Page 7 of 8
       Case 3:22-cv-00178-SDD-SDJ           Document 308       03/27/25    Page 8 of 8




     IV.      CONCLUSION

           For the foregoing reasons, the Motion for Partial Stay51 filed by Defendant Nancy

Landry, in her official capacity as Secretary of State of Louisiana, is GRANTED IN PART

and DENIED IN PART. With respect to HD67, the Motion for Partial Stay52 is GRANTED.

As to HD45, the Motion for Partial Stay53 is DENIED AS MOOT.

           The Motion to Reconsider the Court’s Remedial Schedule54 filed by Plaintiffs the

Black Voters Matter Capacity Building Institute, Steven Harris, Louisiana State

Conference of the NAACP, Clee E. Lowe, Dorothy Nairne, Rose Thompson, and Alice

Washington is DENIED.

           IT IS SO ORDERED.

                                         27th day of _______________,
           Baton Rouge, Louisiana, this ___               March       2025.



                                              S
                                            ________________________________
                                            SHELLY D. DICK
                                            CHIEF DISTRICT JUDGE
                                            MIDDLE DISTRICT OF LOUISIANA




51
   Rec. Doc. 300.
52
   Id.
53
   Id.
54
   Rec. Doc. 304.

                                          Page 8 of 8
